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                           IS EG HALAL GLOBAL
                                 IS EG Halal Global: 125 River Road, Suite 301 - Edgewater NJ 07020
                                Email: global@iseghalal.com | Tel: +1 202 820 0800 www.iseghalal.com


                                           IS EG HALAL AUDIT FORM

 Establishment Name:                                             Name & Description of the Product: -
 Establishment Number:
 Country:
 Audit Date:
 Audit Time:




                                          Documents and Data
1- When was the establishment created?                      Date:
2- What are the latest developments, improvements,          a)
and modifications of the establishment?
                                                            b)

                                                            c)

                                                            d)

                                                            e)

3- Is/Are there any one of the following changes that
affect(s) Halal Policy:                                       a) Yes            No
    a) Establishment Management                             Description:

   b) Halal Assurance System (SOPs, documents,                b) Yes             No
      personnel, etc.)                                      Description:


   c) Establishment Location                                  c) Yes           No
                                                            Description:
                                                       1                                       DEF. EXH

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   d) Raw materials/ingredients (producer/supplier,        d) Yes        No
      type of material)                                  Description:


   e) Formula and development of new products.             e) Yes        No
                                                         Description:


4- Has the establishment been audited before by any         Yes          No
Arab, Muslim, or foreign country?
5- If yes, list the countries.                           Countries:


6- Has the establishment exported to any of the             Yes          No
aforementioned countries?
7- If yes, list the countries.                           Countries:


8- What are the current exporting countries you          Countries:
affiliate with?
9- Has Egypt audited the establishment before?              Yes           No
10- If yes, provide the date.                            Date:

11- Has the establishment exported to Egypt before?         Yes          No
12- If yes, provide the date.                            Date:
13- What are the present export percentages to           External Market   %.
external and internal markets?
                                                         Internal Market   %.
14- Does the establishment only produce declared            Yes          No
and certified Halal products?
15- In the case of Not Halal Certified product, how is   Explain:
the production equipment and storage separated?

16- Are all raw material/ingredient sources Halal and       Yes               No
safe?
17- Are raw materials/ingredients sourced from              Yes               No
animal certified Halal?
                                                     2
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18- Are sources of imported animal raw materials           Yes              No
approved by IS EG HALAL?
19- Are there any Non-Halal raw materials/                 Yes              No
ingredients stored in the premises?
20- Does the Non-Halal product contain pork or any         Yes              No
from its derivatives?
21- Are all Halal raw materials and additives recorded     Yes              No
along with their origin easily be traced?
22- Are steps of preparation, handling, processing,        Yes              No
packaging, storing or transferring of products in
compliance to Islamic Shariah?
23- Is there any mixing between Halal and Non-Halal        Yes              No
raw materials, products and sources?
24- Is transportation used only for Halal products?        Yes              No

25- Are there any appliances or brushes made from          Yes              No
animal hair?
26- Does the packaging label contain IS EG HALAL           Yes               No
Logo with the applied standard?
27- Is labelling and advertising in accordance with        Yes               No
Islamic Shariah?
28- Are the packaging materials one hundred percent        Yes               No
Halal?
29- Are used equipment free from Non-Halal and             Yes               No
hazardous materials?
30- Are there any Non-Halal food/beverages brought         Yes               No
into the factory compound?
31- Does the factory have an effective control system      Yes                   No
from contamination of Non-Halal materials?
32- Is there any liquor or materials sourced from          Yes                   No
liquor in the factory compound?
33- Is there any contact of used equipment, machine        Yes                   No
appliances and processing aids with Non-Halal
materials?
34- Does the factory apply the ritual cleansing of the     Yes                   No
contaminated equipment, machine appliances and
processing aids?
35- Does the establishment have special Halal               Yes                  No
Records to be referred to?
                                                    3
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36- Does the establishment have:
   a) Suitable praying area for Muslim workers                 Yes               No
   b) Permission to perform daily prayers                      Yes               No
   c) Changing room                                            Yes               No
   d) Pantry                                                   Yes               No
37- Have all workers attended Halal training?                  Yes               No

38- How many cameras are at the production halls?         Number of cameras
Please attach herewith the photos.
39- Has the establishment been previously Halal              Yes                 No
certified?
40- If yes, please attach herewith the Halal             Attach document
Certification?
41- Is the establishment ready to use exclusive chillers    Yes                  No
and freezer rooms for Halal production?
42- If no, how will the Halal and Non-Halal products     Explain:
be separated?
43- How has the establishment resolved the               Explain:
challenges of Halal production?

44- What are the corrective actions that have been        a)
taken regarding the latest Halal Non-Conformities?
                                                          b)

                                                          c)

                                                          d)

45- Which Halal standard is desired to be certified       GSO 2055-1/2015, ES 4249/2014
    with?                                                 JAKIM
                                                          GSO 993/2015, ES7729/2014
                                                          OIC-SMIIC 1
                                                          Other:




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46- Please check applicable criteria and attach herewith the following:
   1) Halal Complaint Sheet
   2) Halal Customer Satisfaction Survey
   3) Newest Feedback of Halal Concerned Entities
   4) Qualifications of Halal Responsible Manager
   5) Halal training certificate(s) of the staff
   6) Halal Policy Statement
   7) Last Internal Audit Report




Authorized Representative Signature
     Name                                               Position

    Signature                                            Date

     Stamp




                                                    5
